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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------X
 RASHETA BUNTING,

                                           Plaintiff,           Case No. 20-cv-4950

                           - against -
                                                                COMPLAINT
 WANTABLE, LLC,

                                            Defendants.
 -----------------------------------------------------------X


                                             INTRODUCTION

                 1. Plaintiff, Rasheta Bunting (“Plaintiff” or “Bunting”), brings this action on behalf

of herself against Wantable, Inc. (hereinafter “Wantable” or “Defendant”), and states as follows:

                 2. Plaintiff is a visually-impaired and legally blind person who requires assistive

technology to read websites and mobile application content using her computer, phone, and other

mobile devices. Plaintiff uses the terms “blind” or “visually-impaired” to refer to all people with

visual impairments who meet the legal definition of blindness in that they have a visual acuity with

correction of less than or equal to 20 x 200. Some blind people who meet this definition have

limited vision; others have no vision.

                 3. Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people

in the United States are visually impaired, including 2.0 million who are blind, and according to




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the American Foundation for the Blind’s 2015 report, approximately 400,000 visually impaired

persons live in the State of New York.

               4. Plaintiff uses the Internet to help her navigate a world of goods, products and

services like the sighted. The Internet, websites and mobile applications provide her with a

window into a world that she would not otherwise have. Plaintiff brings this civil rights action

against Wantable for their failure to design, construct, maintain, and operate a mobile application

(software that is intended to run on mobile devises such as phones or table computers) that is not

fully accessible to and independently usable by Plaintiff and other blind or visually-impaired

persons. The mobile application at issue is called “Wantable – Personal Stylist” (the “App”) and

is available through the Apple “app store” for download and installation on Apple devices.

Defendant developed the App and made it available to millions of phone and tablet users in the

Apple app store. The U.S. Supreme Court recently observed that apps allow users to “send

messages, take photos, watch videos, buy clothes, order food, arrange transportation, purchase

concert tickets, donate to charities, and the list goes on. ‘There’s an app for that’ has become part

of the 21st-century American lexicon.” Apple, Inc. v. Robert Pepper, 139 S.Ct. 1514, 203 L.Ed.2d

802 (May 13, 2019).

               5. Plaintiff is also an advocate of the rights of similarly situated disabled persons

and is a “tester” for the purpose of asserting her civil rights and monitoring, ensuring, and

determining whether places of public accommodation and/or their websites and apps are in

compliance with the ADA.

               6. The App provides to the public a wide array of the goods, services, and other

programs offered by Wantable. Yet, Defendant’s App contains thousands of access barriers that

make it difficult if not impossible for blind and visually-impaired customers to use the App. In

fact, the access barriers make it impossible for blind and visually-impaired users to even complete
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a transaction on the App. Thus, Wantable excludes the blind and visually-impaired from the full

and equal participation in the growing Internet economy that is increasingly a fundamental part of

the common marketplace and daily living. In the wave of technological advances in recent years,

assistive computer technology is becoming an increasingly prominent part of everyday life,

allowing blind and visually-impaired persons to fully and independently access a variety of

services.

               7. The blind have an even greater need than the sighted to shop and conduct

transactions online due to the challenges faced in mobility. This fact is even more prominent today

in light of the Covid-19 pandemic. The lack of an accessible App means that blind people are

excluded from experiencing transacting with defendant’s App and from purchasing goods or

services from defendant’s App.

               8. Despite readily available accessible technology, such as the technology in use at

other heavily trafficked retail Apps, which make use of alternative text, accessible forms,

descriptive links, resizable text and limits the usage of tables and JavaScript, Defendant has chosen

to rely on an exclusively visual interface. Defendant’s sighted customers can independently

browse, select, and buy on the App without the assistance of others. However, blind persons must

rely on sighted companions to assist them in accessing and purchasing on the App.

               9. By failing to make the App accessible to blind persons, Defendant is violating

basic equal access requirements under both state and federal law.

               10. Congress provided a clear and national mandate for the elimination of

discrimination against individuals with disabilities when it enacted the ADA. Such discrimination

includes barriers to full integration, independent living, and equal opportunity for persons with

disabilities, including those barriers created by websites, Apps, and other public accommodations

that are inaccessible to blind and visually impaired persons. Similarly, New York state law
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requires places of public accommodation to ensure access to goods, services, and facilities by

making reasonable accommodations for persons with disabilities.

               11. Defendant offers its App to the general public from which it provides a

marketplace e-commerce platform where visitors can have personal stylists help them design

handpicked wardrobes based on their shape, lifestyle, and budget. Visitors take a quiz to help

create curated assortment of fashion, accessories, and more. Defendant’s App allows mobile

device users to make purchases on a mobile platform through a connection to Wi-Fi or cellular

data so that users can explore and securely purchase from a large selection of products. Defendant

encourages customers to download the App to get many features including easy sign-up, ability to

take and update quiz, place orders and manage subscriptions, check out, make edits, and the ability

to share your favorites through social media, amongst other features of the App delivered to

customers’ phones. As such, it has subjected itself to the ADA because Defendant’s App is offered

as a tool to promote, advertise, and sell its products from a place of public accommodation.

               12. Plaintiff browsed and intended to take the style quiz and make a purchase of

various clothing items that best suit her shape, lifestyle, and budget on Defendant’s App. However,

unless Defendant remedies the numerous access barriers on its App, Plaintiff will continue to be

unable to independently navigate, browse, use, and complete a transaction on the App. Defendant

is denying blind and visually-impaired persons throughout the United States with equal access to

the goods and services Wantable provides to their non-disabled customers through its App.

Defendant’s denial of full and equal access to its App, and therefore denial of its products and

services offered, and in conjunction with its physical locations, is a violation of Plaintiff’s rights

under the Americans with Disabilities Act (the “ADA”).

               13. Because Defendant’s App, is not equally accessible to blind and visually-

impaired consumers, it violates the ADA. Plaintiff seeks a permanent injunction to cause a change
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in Wantable’s policies, practices, and procedures so that Defendant’s App will become and remain

accessible to blind and visually-impaired consumers. This complaint also seeks compensatory

damages to compensate Plaintiff for having been subjected to unlawful discrimination.

                                 JURISDICTION AND VENUE

               14. This Court has subject matter jurisdiction over this action under 28 U.S.C. §

1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. §

12181 et seq., and 28 U.S.C. § 1332 because Plaintiff is a citizen of a different state than Defendant,

and the amount in controversy exceeds the sum or value of $5,000,000, excluding interest and

costs. See 28 U.S.C. § 1332(d)(2).

               15. This Court also has supplemental jurisdiction over pursuant to 28 U.S.C. §

1367, over Plaintiff’s pendent claims under the New York State Human Rights Law, N.Y. Exec.

Law, Article 15 (Executive Law § 290 et seq.) and the New York City Human Rights Law, N.Y.C.

Administrative Code § 8-101 et seq. (“City Law”).

               16. Venue is proper in this District of New York pursuant to 28 U.S.C. §§ 1391(b)-

(c) and 144(a) because Plaintiff resides in this District, Defendant conducts and continues to

conduct a substantial and significant amount of business in this District, and a substantial portion

of the conduct complained of herein occurred in this District.

               17. Defendant is registered to do business in New York State and has been

conducting business in New York State, including in this District. Defendant purposefully targets

and otherwise solicits business from New York State residents through its App. Because of this

targeting, it is not unusual for Wantable to conduct business with New York State residents.

Defendant also has been and is committing the acts alleged herein in this District and has been and

is violating the rights of consumers in this District and has been and is causing injury to consumers

in this District. All of the acts and omissions giving rise to Plaintiff’s claims have occurred in this
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District. Most courts support the placement of venue in the district in which Plaintiff tried and

failed to access the website or App. In Access Now, Inc. v. Otter Products, LLC 280 F.Supp.3d

287 (D. Mass. 2017), Judge Patti B. Saris ruled that “although the website may have been created

and operated outside of the district, the attempts to access the website in Massachusetts are part of

the sequence of events underlying the claim. Therefore, venue is proper in [the District of

Massachusetts].” Otter Prods., 280 F.Supp.3d at 294. This satisfies Due Process because the harm

– the barred access to the website – occurred here.” Otter Prods., 280 F.Supp.3d at 293.

Additionally, in Access Now, Inc. v. Sportswear, Inc., No. 17-cv-11211-NMG, 2018 Dist. LEXIS

47318 (D. Mass. Mar. 22, 2018), Judge Nathaniel M. Gorton stated that the defendant “availed

itself of the forum state’s economic activities by targeting the residents of the Commonwealth . . .

. Such targeting evinces a voluntary attempt to appeal to the customer base in the forum.”

Sportswear, No. 1:17-cv-11211-NMG, 2018 U.S. Dist. LEXIS 47318 at *11. Thus, establishing

a customer base in a particular district is sufficient cause for venue placement.

                                            PARTIES

               18. Plaintiff, is and has been at all relevant times a resident of Kings County,

State of New York.

               19. Plaintiff is legally blind and a member of a protected class under the ADA, 42

U.S.C. § 12102(l)-(2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et

seq., the New York State Human Rights Law and the New York City Human Rights Law.

Plaintiff is the owner of an iPhone 11 mobile devise. Plaintiff cannot use a computer, iPhone, or

other mobile devise without the use of assistive technology. Plaintiff, Rasheta Bunting, has been

denied the full enjoyment of the facilities, goods and services of Defendant’s App as a result of

accessibility barriers on the App.



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               20. Defendant, Wantable, Inc., is Wisconsin Foreign Business Corporation doing

business in New York with its principal place of business located at 112 E. Mineral Street,

Milwaukee, WI 53204.

               21. Upon information and belief, Wantable has raised over $6,500,000 from

venture capital firms. Upon information and belief, not a single dollar of the over $6,500,000

raised has been used to make its App accessible to the visually-impaired.

               22. Wantable provides to the public an App which provides consumers with

access to an array of goods and services, including, the ability to take a style quiz, and browse,

subscribe, and purchase curated assortments of women’s makeup, fashion, accessories, and other

related products, among other features. Consumers across the United States use Defendant’s

App to purchase curated fashion items. Defendant’s App is a place of public accommodation

within the definition of Title III of the ADA, 42 U.S.C. § 12181(7). See Victor Andrews v. Blick

Art Materials, LLC, No. 17-cv-767, 2017 WL 3278898 (E.D.N.Y. August 1, 2017).

                                    NATURE OF THE CASE

               23. The Internet has become a significant source of information, a portal, and a tool

for conducting business, doing everyday activities such as shopping, learning, banking,

researching, as well as many other activities for sighted, blind and visually-impaired persons alike.

               24. Blind and visually-impaired consumers must use the assistive technology on

the iPhone to access app content. The app must be designed and programmed to work with the

assistive technology available on the iPhone. Defendant’s App, however, contains digital barriers

which limit the ability of blind and visually impaired consumers to access it, even with Apple’s

assistive technology.




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               25. Defendant’s App does not properly interact with Apple’s assistive technology

in a manner that will allow the blind and visually-impaired to enjoy the App, nor does it provide

other means to accommodate the blind and visually-impaired.

               26. Plaintiff has also downloaded and attempted to patronize Defendant’s App in

the past and intends to continue to make further attempts to patronize Defendant’s App, most

recently on October 13, 2020. She would like to be able to learn about Defendant’s fashion

products, learn how the App works, learn about the latest fashion trends, take the style quiz, and

seek general assistance with her outfits (as she cannot see what she is buying). Specifically,

Plaintiff was interested in taking the style quiz and making a purchase of various clothing items

that best suit her shape, lifestyle, and budget. However, unless Defendant is required to eliminate

the access barriers at issue and is required to change its policies so that access barriers do not

reoccur on Defendant’s App, Plaintiff will continue to be denied full and equal access to the App

as described and will be deterred from fully using Defendant’s App or making purchases.

               27. Plaintiff continues to attempt to utilize the App and/or plans to continue to

attempt to utilize the App in the near future. In the alternative, Plaintiff intends to monitor the App

in the near future as a tester to ascertain whether it has been updated to interact property with the

assistive technology.

               28. Plaintiff is continuously aware of the violations at Defendant’s App and is

aware that it would be a futile gesture to attempt to utilize the App as long as those violations exist

unless she is willing to suffer additional discrimination.

               29. Plaintiff has suffered, and continues to suffer, frustration and humiliation as the

result of the discriminatory conditions present at Defendant’s App. By continuing to operate its

App with discriminatory conditions, Defendant contributes to Plaintiff’s sense of isolation and

segregation and deprives Plaintiff the full and equal enjoyment of the goods, services, facilities,
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privileges, and/or accommodations available to the general public.            By encountering the

discriminatory conditions at Defendant’s App, and knowing that it would be a futile gesture to

utilize the App unless she is willing to endure additional discrimination, Plaintiff is deprived of

the meaningful choice of freely visiting and utilizing the same accommodations readily available

to the general public and is deterred and discouraged from doing so. By maintaining an app with

violations, Defendant deprives Plaintiff the equality of opportunity offered to the general public.

               30. Plaintiff has suffered and will continue to suffer direct and indirect injury as a

result of Defendant’s discrimination until the Defendant is compelled to comply with the

requirements of the ADA.

               31. Plaintiff has a realistic, credible, existing and continuing threat of

discrimination from the Defendant’s non-compliance with the ADA with respect to the App as

described above. Plaintiff has reasonable grounds to believe that she will continue to be subjected

to discrimination in violation of the ADA by the Defendant. Plaintiff desires to access the App to

avail herself of the benefits, advantages, goods and services therein, and/or to assure herself that

this App is in compliance with the ADA so that she and other similarly situated will have full and

equal enjoyment of the App without fear of discrimination.

               32. The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.1 of the Web Content

Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established guidelines for making

websites and apps accessible to blind and visually-impaired persons.          These guidelines are

universally followed by most large business entities and government agencies to ensure their

websites and apps are accessible. Many Courts have also established WCAG 2.1 as the standard

guideline for accessibility. The federal government has also promulgated website and app

accessibility standards under Section 508 of the Rehabilitation Act. These guidelines are readily
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available via the Internet, so that a business designing a website or app can easily access them.

These guidelines recommend several basic components for making websites and apps accessible.

Additionally, the World Wide Web Consortium’s Web Accessibility Initiative (“WAI”) has found

that the majority of success criteria from WCAG 2.0 could apply to non-web software [i.e. apps]

with no or only minimal changes.            See http://www.w3.org/WAI/GL/2013/WD-wcag2ict-

20130905/accordion. More recently, in 2015, the WAI released a document called “Mobile

Accessibility: How WCAG 2.0 and Other W3C/WAI Guidelines Apply to Mobile,” which

observed that most of the advise in the document also applies to mobile apps.                        See

http://www.w3.org/TR/mobile-accessibility-mapping/. The 2018 upgrade to WCAG 2.1 provides

additional   success    criteria,    many   of   which    concern     mobile     accessibility.      See

http://www.w3.org/2017/01/ag-charter. Without these very basic components, an app will be

inaccessible to a blind person using an iPhone.          Apps need to be accessible to the “least

sophisticated” mobile devise user and need to be continually updated and maintained to ensure

that they remain fully accessible.

               33. The ADA expressly contemplates the type of injunctive relief that Plaintiff

seeks in this action. The ADA provides, in part:

       [i]n the case of violations of . . . this title, injunctive relief shall include an order to alter
       facilities to make such facilities readily accessible to and usable by individuals with
       disabilities . . . Where appropriate, injunctive relief shall also include requiring the . . .
       modification of a policy . . .

42 U.S.C. § 12188(a)(2).

               34. Therefore, Plaintiff seeks a declaration that Defendant’s App violates federal

law as described and an injunction requiring Defendant to modify its App so that it is fully

accessible to, and independently usable by, blind or visually-impaired individuals. Plaintiff further

requests that the Court retain jurisdiction of this matter for a period to be determined to ensure that

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Defendant comes into compliance with the requirements of the ADA and to ensure that Defendant

has adopted and is following an institutional policy that will, in fact, cause Defendant’s App to

remain in compliance with the law.

                                 FACTUAL ALLEGATIONS

               35. Defendant, Wantable, Inc., controls and operates the App in New York State

and throughout the United States.

               36. The App offers products for online sale. The online store allows the user to

take a style quiz and have a personal stylist help them design handpicked clothing based on their

shape, lifestyle, and budget, make purchases, and perform a variety of other functions.

               37. Among the features offered by the App are the following:

               (a) Consumers may use the website to connect with Wantable on social media,

using such sites as Facebook, Twitter, Instagram, and Pinterest;

               (b) an online store, allowing customers to take a style quiz and have a personal

stylist help them design handpicked clothing based on their shape, lifestyle, and budget, and sign

up for a subscription; and

               (c) Learn about shipping and return policies, read product reviews, edit

subscriptions, work with a stylist, and learn about the company.

               38. This case arises out of Wantable’s policy and practice of denying the blind

access to the goods and services offered by the App. Due to Wantable’s failure and refusal to

remove access barriers to the App, blind individuals have been and are being denied equal access

to Defendant, as well as to the numerous goods, services and benefits offered to the public through

the App.

               39. Wantable denies the blind access to goods, services and information made

available through the App by preventing them from freely navigating the App.
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               40. Blind and visually-impaired individuals may access apps by using accessibility

features in conjunction with screen-reader software that converts text to audio. Screen-reader

software provides the primary method by which a visually-impaired person may independently

use the Internet. Unless the app is designed to be accessed with screen-reader software, visually-

impaired individuals are unable to fully access apps and the information, products, and services

available through apps.

               41. Plaintiff is legally blind and uses VoiceOver screen-reader software in order to

access app content. VoiceOver is the most popular screen-reader software utilized worldwide by

visually-impaired individuals for Apple tables and phones. “VoiceOver is a gesture-based screen

reader that lets you enjoy using iPhone even if you don’t see the screen.” See Apple, Accessibility,

available at https://apple.com/accessibility/iphone/vision/.

               42. Despite Plaintiff’s attempts, Defendant’s App did not integrate with the

VoiceOver software, nor was there any function within the App to permit access for visually-

impaired individuals through other means. Plaintiff’s browsing and purchase attempts were

rendered futile because the App was inaccessible. Therefore, Plaintiff was denied the full use and

enjoyment of the goods and services available on Defendant’s App as a result of access barriers

on the App. For example, VoiceOver users cannot take the quiz. Images are not announced,

navigation is difficult, etc. Sighted users can take the style quiz and search for clothing, but such

features do not work with VoiceOver software.

               43. The App contains access barriers that prevent free and full use by Plaintiff and

blind persons using the VoiceOver software. These barriers are pervasive and include, but are not

limited to: lack of alt-text on graphics, inaccessible drop-down menus, the lack of navigation links,

the lack of adequate prompting and labeling, empty links that contain no text, redundant links, and

the requirement that transactions be performed solely with a finger.
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               41. Alternative text (“Alt-text”) is invisible code embedded beneath a graphical

image on an App. Web accessibility requires that alt-text be coded with each picture so that a

screen-reader can speak the alternative text while sighted users see the picture. Alt-text does not

change the visual presentation. There are many important pictures on the App that lack a text

equivalent. The lack of alt-text on these graphics prevents screen readers from accurately

vocalizing a description of the graphics (screen-readers detect and vocalize alt-text to provide a

description of the image to a blind computer user). As a result, Plaintiff and blind App customers

are unable to determine what is on the App, browse the App or investigate and/or make purchases.

               44. The App also lacks prompting information and accommodations necessary to

allow blind shoppers who use VoiceOver software to locate and accurately fill-out online forms.

On a shopping App such as Wish, these forms include search fields to take the quiz, fields to

locate products, fields to select color and size, and fields used to fill-out personal information,

including address and credit card information. Due to lack of adequate labeling, Plaintiff and

blind customers cannot make purchases or inquiries as to Defendant’s merchandise, nor can they

enter their personal identification and financial information with confidence and security.

               45. Defendant’s App does not meet the WCAG 2.1 A and AA levels of

accessibility. Plaintiff experienced the following issues when attempting to shop on the App:

(a) WCAG guideline 1.3.1 – Info and Relationships - information, structure, and relationships

conveyed through presentation should be programmatically determined to be available in text.

The App has very limited functionality for screen reader users. When a screen reader is

activated, then focus will only momentarily to to an element before it is quickly redirected. The

main menu icons do not receive focus and are not announced at all. This is a critical error.

(b) WCAG guideline 2.2.1 – Timing Adjustable – Time limits have user controls. In the case at

hand, the filter is not accessible because of the time limit to provide an answer. The first section
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of the filter is the “Style Edit” and it has 7 checkboxes from which a user can select. In every

case, as soon as Plaintiff navigated to the first checkbox, it was announced but focus then jumped

to the top of the page and announced the Quiz Matches button as dimmed. Plaintiff could not get

past the first checkbox because screen reader users do not have any time to make a selection.

This is a critical error.

(c) WCAG guideline 4.1.2 – Name, Role, Value – All elements need to be built for accessibility.

In the case at hand, when Plaintiff navigated to specific products, she could hear the title and

price. However, immediately after the price, focus jumped behind the image and announced a

Quiz Match which is an element on a different page. The button below the image could not be

accessed because the focus jumps from this page. The Request, Decline, Share, or Go Back

buttons also could not be accessed. This is a critical error.

                46. By failing to adequately design and program its App to accurately and

sufficiently integrate with VoiceOver, Defendant has discriminated against Plaintiff and others

with visual impairments on the basis of a disability by denying them the full and equal

enjoyment of the App in violation of 42 U.S.C. § 12182(a) and C.F.R. § 36.201.

                47. As a result of Defendant’s discrimination, Plaintiff was unable to use

Defendant’s App and suffered an injury in fact including loss of dignity, mental anguish and

other tangible injuries.

                48. The barriers on the App have caused a denial of Plaintiff’s full and equal

access in the past, and now deter Plaintiff from attempting to use Defendant’s App.

                49. If Defendant’s App were accessible, Plaintiff could independently navigate,

review and purchase products from Defendant’s online store as well as utilize the other functions

on the App.



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               50. Plaintiff believes that although Defendant may have centralized policies

regarding the maintenance and operation of its App, Defendant has never had a plan or policy

that is reasonably calculated to make its App fully accessible to, and independently usable by,

people with visual impairments.

               51. Defendant’s App requires the use of a finger to complete a transaction. Yet, it

is a fundamental tenet of web accessibility that for an app to be accessible to Plaintiff and blind

people, it must be possible for the user to interact with the page using only audio. Indeed,

Plaintiff and blind users cannot use their hands because manipulating the hand on the screen is a

visual activity of moving the finger from one visual spot on the page to another. Thus, the Apps’

inaccessible design, which requires the use of a hand to complete a transaction, denies Plaintiff

and blind customers the ability to independently navigate and/or make purchases on the App.

               52. Due to the App’s inaccessibility, Plaintiff and blind customers must in turn

spend time, energy, and/or money to make their purchases at traditional brick-and-mortar

retailers. Some blind customers may require a driver to get to the stores or require assistance in

navigating the stores. By contrast, if the App was accessible, a blind person could independently

investigate products and make purchases via the Internet as sighted individuals can and do.

Thus, the App’s inaccessible design, which requires the use of a finger to complete a transaction,

denies Plaintiff and blind customers the ability to independently make purchases on the App.

               53. The App thus contains access barriers which deny the full and equal access to

Plaintiff, who would otherwise use the App and who would otherwise be able to fully and

equally enjoy the benefits and services of the App in New York State and throughout the United

States.

               54. Plaintiff, Rasheta Bunting, has made numerous attempts to take the quiz and



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complete a purchase on the App, most recently on October 13, 2020, but was unable to do so

independently because of the many access barriers on Defendant’s App. These access barriers

have caused the App to be inaccessible to, and not independently usable by, blind and visually-

impaired persons. Amongst other access barriers experienced, Plaintiff was unable to take the

style quiz and make a purchase of various clothing items that best suit her shape, lifestyle, and

budget.

               55. As described above, Plaintiff has actual knowledge of the fact that

Defendant’s App, contains access barriers causing the App to be inaccessible, and not

independently usable by, blind and visually-impaired persons.

               56. These barriers to access have denied Plaintiff full and equal access to, and

enjoyment of, the goods, benefits and services of the App.

               57. Defendant engaged in acts of intentional discrimination, including but not

limited to the following policies or practices:

               (a) constructed and maintained an app that is inaccessible to blind persons with

knowledge of the discrimination; and/or

               (b) constructed and maintained an app that is sufficiently intuitive and/or obvious

that is inaccessible to blind persons; and/or

               (c) failed to take actions to correct these access barriers in the face of substantial

harm and discrimination to blind persons.

               58. Defendant utilizes standards, criteria or methods of administration that have

the effect of discriminating or perpetuating the discrimination of others.

               59. Because of Defendant’s denial of full and equal access to, and enjoyment of,

the goods, benefits and services of the App, Plaintiff has suffered an injury-in-fact which is

concrete and particularized and actual and is a direct result of defendant’s conduct. Without
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injunctive relief, Plaintiff and other visually-impaired individuals will continue to be unable to

independently use Defendant’s App in violation of their rights under the ADA.

                                FIRST CAUSE OF ACTION
   (Violation of 42 U.S.C. §§ 12181 et seq. – Title III of the Americans with Disabilities Act)

               60. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 59 of this Complaint as though set forth at length herein.

               61. Title III of the American with Disabilities Act of 1990, 42 U.S.C. § 12182(a)

provides that “No individual shall be discriminated against on the basis of disability in the full

and equal enjoyment of the goods, services, facilities, privileges, advantages, or accommodations

of any place of public accommodation by any person who owns, leases (or leases to), or operates

a place of public accommodation.” Title III also prohibits an entity from “[u]tilizing standards or

criteria or methods of administration that have the effect of discriminating on the basis of

disability.” 42 U.S.C. § 12181(b)(2)(D)(I).

               62. The App is a sales establishment and public accommodation within the

definition of 42 U.S.C. §§ 12181(7).

               63. Defendant is subject to Title III of the ADA because it owns and operates the

App.

               64. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(I), it is unlawful

discrimination to deny individuals with disabilities or a class of individuals with disabilities the

opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

or accommodations of an entity.

               65. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful




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discrimination to deny individuals with disabilities or a class of individuals with disabilities an

opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

or accommodation, which is equal to the opportunities afforded to other individuals.

               66. Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II),

unlawful discrimination includes, among other things, “a failure to make reasonable

modifications in policies, practices, or procedures, when such modifications are necessary to

afford such goods, services, facilities, privileges, advantages, or accommodations to individuals

with disabilities, unless the entity can demonstrate that making such modifications would

fundamentally alter the nature of such goods, services, facilities, privileges, advantages or

accommodations.”

               67. In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III),

unlawful discrimination also includes, among other things, “a failure to take such steps as may

be necessary to ensure that no individual with disability is excluded, denied services, segregated

or otherwise treated differently than other individuals because of the absence of auxiliary aids

and services, unless the entity can demonstrate that taking such steps would fundamentally alter

the nature of the good, service, facility, privilege, advantage, or accommodation being offered or

would result in an undue burden.”

               68. There are readily available, well-established guidelines on the Internet for

making apps accessible to the blind and visually-impaired. These guidelines have been followed

by other business entities in making their apps accessible, including but not limited to ensuring

adequate prompting and accessible alt-text. Incorporating the basic components to make their

app accessible would neither fundamentally alter the nature of Defendant’s business nor result in

an undue burden to Defendant.



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               69. The acts alleged herein constitute violations of Title III of the ADA, 42 U.S.C.

§ 12101 et seq., and the regulations promulgated thereunder. Patrons of Wantable who are blind

have been denied full and equal access to the App, have not been provided services that are

provided to other patrons who are not disabled, and/or have been provided services that are

inferior to the services provided to non-disabled patrons.

               70. Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

               71. As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff on the basis of disability in the full and equal enjoyment of the

goods, services, facilities, privileges, advantages, accommodations and/or opportunities of the

App in violation of Title III of the Americans with Disabilities Act, 42 U.S.C. §§ 12181 et seq.

and/or its implementing regulations.

               72. Unless the Court enjoins Defendant from continuing to engage in these

unlawful practices, Plaintiff will continue to suffer irreparable harm.

               73. The actions of Defendant were and are in violation of the ADA, and therefore

Plaintiff invokes her statutory right to injunctive relief to remedy the discrimination.

               74. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

               75. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set

forth and incorporated therein, Plaintiff prays for judgment as set forth below.

                               SECOND CAUSE OF ACTION
               (Violation of New York State Human Rights Law, N.Y. Exec. Law
                            Article 15 (Executive Law § 292 et seq.))

               76. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 75 of this Complaint as though set forth at length herein.



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               77. N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent, or

employee of any place of public accommodation . . . because of the . . . disability of any person,

directly or indirectly, to refuse, withhold from or deny to such person any of the

accommodations, advantages, facilities or privileges thereof.”.

               78. The App is a sales establishment and public accommodation within the

definition of N.Y. Exec. Law § 292(9).

               79. Defendant is subject to the New York Human Rights Law because it owns and

operates the App. Defendant is a person within the meaning of N.Y. Exec. Law. § 292(1).

               80. Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or

remove access barriers to the App, causing the App to be completely inaccessible to the blind.

This inaccessibility denies blind patrons the full and equal access to the facilities, goods and

services that Defendant makes available to the non-disabled public.

               81. Specifically, under N.Y. Exec. Law § unlawful discriminatory practice

includes, among other things, “a refusal to make reasonable modifications in policies, practices,

or procedures, when such modifications are necessary to afford facilities, privileges, advantages

or accommodations to individuals with disabilities, unless such person can demonstrate that

making such modifications would fundamentally alter the nature of such facilities, privileges,

advantages or accommodations.”

               82. In addition, under N.Y. Exec. Law § 296(2)(c)(II), unlawful discriminatory

practice also includes, “a refusal to take such steps as may be necessary to ensure that no

individual with a disability is excluded or denied services because of the absence of auxiliary

aids and services, unless such person can demonstrate that taking such steps would



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fundamentally alter the nature of the facility, privilege, advantage or accommodation being

offered or would result in an undue burden.”

               83. There are readily available, well-established guidelines on the Internet for

making apps accessible to the blind and visually-impaired. These guidelines have been followed

by other business entities in making their apps accessible, including but not limited to: adding

alt-text to graphics and ensuring that all functions can be performed by using audio.

Incorporating the basic components to make their apps accessible would neither fundamentally

alter the nature of Defendant’s business nor result in an undue burden to Defendant.

               84. Defendant’s actions constitute willful intentional discrimination against the

Plaintiff on the basis of a disability in violation of the New York State Human Rights Law, N.Y.

Exec. Law § 296(2) in that Defendant has:

               (a) constructed and maintained a website that is inaccessible to blind persons with

knowledge of the discrimination; and/or

               (b) constructed and maintained a website that is sufficiently intuitive and/or

obvious that is inaccessible to blind persons; and/or

               (c) failed to take actions to correct these access barriers in the face of substantial

harm and discrimination to blind persons.

               85. Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

               86. As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff on the basis of disability in the full and equal enjoyment of the

goods, services, facilities, privileges, advantages, accommodations and/or opportunities of the

App under N.Y. Exec. Law § 296(2) et seq. and/or its implementing regulations. Unless the



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Court enjoins Defendant from continuing to engage in these unlawful practices, Plaintiff will

continue to suffer irreparable harm.

               87. The actions of Defendant were and are in violation of the New York State

Human Rights Law and therefore Plaintiff invokes her right to injunctive relief to remedy the

discrimination.

               88. Plaintiff is also entitled to compensatory damages, as well as civil penalties

and fines pursuant to N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.

               89. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

               90. Pursuant to N.Y. Exec. Law § 297 and the remedies, procedures, and rights set

forth and incorporated therein, Plaintiff prays for judgment as set forth below.

                                  THIRD CAUSE OF ACTION
                  (Violation of New York State Civil Rights Law, NY CLS Civ R,
                                 Article 4 (CLS Civ R § 40 et seq.))

               91. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 90 of this Complaint as though set forth at length herein.

               92. Plaintiff served notice thereof upon the attorney general as required by N.Y.

Civil Rights Law § 41.

               93. N.Y. Civil Rights Law § 40 provides that “all persons within the jurisdiction

of this state shall be entitled to the full and equal accommodations, advantages, facilities, and

privileges of any places of public accommodations, resort or amusement, subject only to the

conditions and limitations established by law and applicable alike to all persons. No persons,

being the owner, lessee, proprietor, manager, superintendent, agent, or employee of any such

place shall directly or indirectly refuse, withhold from, or deny to any person any of the

accommodations, advantages, facilities and privileges thereof . . .”



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                94. N.Y. Civil Rights Law § 40-c(2) provides that “no person because of . . .

disability, as such term is defined in section two hundred ninety-two of executive law, be

subjected to any discrimination in his or her civil rights, or to any harassment, as defined in

section 240.25 of the penal law, in the exercise thereof, by any other person or by any firm,

corporation or institution, or by the state or any agency or subdivision.”

                95. The App is a sales establishment and public accommodation within the

definition of N.Y. Civil Rights Law § 40-c(2).

                96. Defendant is subject to New York Civil Rights Law because it owns and

operates the App. Defendant is a person within the meaning of N.Y. Civil Law § 40-c(2).

                97. Defendant is violating N.Y. Civil Rights Law § 40-c(2) in refusing to update

or remove access barriers to the App causing the App to be completely inaccessible to the blind.

This inaccessibility denies blind patrons full and equal access to the facilities, goods and services

that Defendant makes available to the non-disabled public.

                98. There are readily available, well-established guidelines on the Internet for

making apps accessible to the blind and visually-impaired. These guidelines have been followed

by other business entities in making their apps accessible, including but not limited to: adding

alt-text to graphics and ensuring that all functions can be performed by using audio.

Incorporating the basic components to make their app accessible would neither fundamentally

alter the nature of Defendant’s business nor result in an undue burden to Defendant.

                99. In addition, N.Y. Civil Rights Law § 41 states that “any corporation which

shall violate any of the provisions of sections forty, forty-a, forty-b or forty two . . . shall for each

and every violation thereof be liable to a penalty of not less than one hundred dollars nor more

than five hundred dollars, to be recovered by the person aggrieved thereby . . .”



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                100. Specifically, under N.Y. Civil Rights Law § 40-d, “any person who shall

violate any of the provisions of the foregoing section, or subdivision three of section 240.30 or

section 240.31 of the penal law, or who shall aid or incite the violation of any of said provisions

shall for each and every violation thereof be liable to a penalty of not less than one hundred

dollars nor more than five hundred dollars, to be recovered by the person aggrieved thereby in

any court of competent jurisdiction in the county in which the defendant shall reside . . .”

                101. Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

                102. As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff on the basis of disability are being directly indirectly refused,

withheld from, or denied the accommodations, advantages, facilities and privileges thereof in §

40 et seq. and/or its implementing regulations.

                103. Plaintiff is entitled to compensatory damages of five hundred dollars per

instance, as well as civil penalties and fines pursuant to N.Y. Civil Rights Law § 40 et seq. for

each and every offense.

                                  FOURTH CAUSE OF ACTION
                          (Violation of New York City Human Rights Law,
                            N.Y.C. Administrative Code § 8-102, et seq.)

                104. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 103 of this Complaint as though set forth at length herein.

                105. N.Y.C. Administrative Code § 8-107(4)(a) provides that “it shall be an

unlawful discriminatory practice for any person, being the owner, lessee, proprietor, manager,

superintendent, agent or employee of any place or provider of public accommodation, because of

. . . disability . . . directly or indirectly, to refuse, withhold from or deny to such person, any of

the accommodations, advantages, facilities or privileges thereof.”
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               106. The App is a sales establishment and public accommodation within the

definition of N.Y.C. Administrative Code § 8-102(9).

               107. Defendant is subject to City Law because it owns and operates the App.

Defendant is a person within the meaning of N.Y.C. Administrative Code § 8-102(1).

               108. Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing

to update or remove access barriers to the App, causing the App to be completely inaccessible to

the blind. This inaccessibility denies blind patrons full and equal access to the facilities, goods,

and services that Defendant makes available to the non-disabled public. Specifically, Defendant

is required to “make reasonable accommodation to the needs of persons with disabilities . . . any

person prohibited by the provisions of [§ 8-107 et seq.] from discriminating on the basis of

disability shall make reasonable accommodation to enable a person with a disability to . . . enjoy

the right or rights in question provided that the disability is known or should have been known

by the covered entity.” N.Y.C. Administrative Code § 8-107(15)(a).

               109. Defendant’s actions constitute willful intentional discrimination against the

Plaintiff on the basis of a disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a)

and § 8-107(15)(a) in that Defendant has:

               (a) constructed and maintained a website that is inaccessible to blind persons with

knowledge of the discrimination; and/or

               (b) constructed and maintained a website that is sufficiently intuitive and/or

obvious that is inaccessible to blind persons; and/or

               (c) failed to take actions to correct these access barriers in the face of substantial

harm and discrimination to blind persons.

               110. Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.
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               111. As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff on the basis of disability in the full and equal enjoyment of the

goods, services, facilities, privileges, advantages, accommodations and/or opportunities of the

App under N.Y.C. Administrative Code § 8-107(4)(a) and/or its implementing regulations.

Unless the Court enjoins Defendant from continuing to engage in these unlawful practices,

Plaintiff will continue to suffer irreparable harm.

               112. The actions of Defendant were and are in violation of City law and therefore

Plaintiff invokes her right to injunctive relief to remedy the discrimination.

               113. Plaintiff is also entitled to compensatory damages, as well as civil penalties

and fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense.

               114. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

               115. Pursuant to N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) and the

remedies, procedures, and rights set forth and incorporated therein, Plaintiff prays for judgment

as set forth below.

                                  FIFTH CAUSE OF ACTION
                                      (Declaratory Relief)

               116. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 115 of this Complaint as though set forth at length herein.

               117. An actual controversy has arisen and now exists between the parties in that

Plaintiff contends, and is informed and believes that Defendant denies, that the App contains

access barriers denying blind customers the full and equal access to the goods, services and

facilities of the App, which Wantable owns, operates and/or controls, fails to comply with

applicable laws including, but not limited to, Title III of the American with Disabilities Act, 42




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U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C. Administrative Code § 8-

107, et seq. prohibiting discrimination against the blind.

               118. A judicial declaration is necessary and appropriate at this time in order that

each of the parties may know their respective rights and duties and act accordingly.

                                     PRAYER FOR RELIEF

               WHEREFORE, Plaintiff respectfully demands judgment in favor of Plaintiff and

against the Defendants as follows:

   a)   A preliminary and permanent injunction to prohibit Defendant from violating the

        Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et

        seq., and N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

   b)   A preliminary and permanent injunction requiring Defendant to take all the steps

        necessary to make its App into full compliance with the requirements set forth in the ADA,

        and its implementing regulations, so that the App is readily accessible to and usable by

        blind individuals;

   c)   A declaration that Defendant owns, maintains and/or operates its App in a manner which

        discriminates against the blind and which fails to provide access for persons with

        disabilities as required by Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.,

        N.Y. Exec. Law § 296, et seq., and N.Y.C. Administrative Code § 8-107, et seq., and the

        laws of New York;

   d)   An order directing Defendants to continually update and maintain its App to ensure that

        it remains fully accessible to and usable by the visually-impaired;

   e)   Compensatory damages in an amount to be determined by proof, including all applicable

        statutory damages and fines, to Plaintiff for violations of their civil rights under New York

        State Human Rights Law and City Law;
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   f)   Plaintiff’s reasonable attorneys’ fees, expenses, and costs of suit as provided by state and

        federal law;

   g)   For pre- and post-judgment interest to the extent permitted by law; and

   h)   For such other and further relief which this court deems just and proper.

Dated: Scarsdale, New York
       October 14, 2020
                                                SHAKED LAW GROUP, P.C.
                                                Attorneys for Plaintiff

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